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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY
                                       MINUTES

NEWARK
Judge:        JOSE L. LINARES                               Date: 04/18/2019
Court Reporter: PHYLLIS LEWIS                               Docket No: 2:16-407 (JLL)

Title of the Case:

UNITED STATES OF AMERICA
v.
NATHAN BRADLEY MONTGOMERY

Appearances:

Nicholas Grippo, AUSA
Brandon Minde, Attorney for Defendant
Adriana O’Hara, USPO

Nature of Proceedings:

SENTENCE: 12 Months + 1 Day on Count 1 of the Information
Supervised Release: 3 Years on Count 1 of the Information
SPECIAL CONDITIONS:
    • No Drugs
    • Full Financial Disclosure
    • Occupational Restriction
    • Mental Health Treatment
    • Self-Employment/Business Disclosure
Special Assessment: $100.00 (due immediately)
Fine: Waived
Forfeiture Order to be filed
Deft. advised of his right to appeal
Recommendation to BOP: a facility for service of this sentence in Arizona
Court ORDERED Deft to surrender by 05/29/19 at or before Noon


Commenced: 10:00 am
Concluded: 11:06 am

                                                     Lissette Rodriguez, Courtroom Deputy
                                                     to the Honorable Jose L. Linares, U.S.D.J.
